1344 RaGASErrbeAdaGVoASZLE-XXXX Documert HO COVERGAREYSD Docket 09/06/2021 Page 1 of 2

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.

I. (a) PLAINTIFFS DEFENDANTS
ARI FINANCIAL GROUP INC JOSEF SCHIFFER, PROSPEROUS FINANCIA
(b) County of Residence of First Listed Plaintiff Miami-Dade
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant Miami-Dade
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

(c) Attorneys (Firm Name, Address, and Telephone Number)

KLUGER, KAPLAN, SILVERMAN, KATZEN & LEVINE, P.L. 201
S.Biscavne Blvd. 27th Fl. Miami. FT. 33131 Tel: (305) 379-9000

Attorneys (If Known)

Berenthal & Associates, P.C. 255 Alhambra Circle, Suite 1150
Coral Gables, FL 33134 Tel: (212) 302-9494

(d) Check County Where Action Arose: MIAMI-DADE [] MonroE [J BRowarD []PALMBEACH [J MARTIN O)sT.LuciE DUINDIANRIVER [J OKEECHOBEE [J HIGHLANDS

 

II. BASIS OF JURISDICTION Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff)

(For Diversity Cases Only) and One Box for Defendant)

(Place an “X” in One Box Only)

1 1 + US. Government 3 Federal Question PTF DEF PTF DEF

Plaintiff (U.S. Government Not a Party) Citizen of This State Oo 1 1 Incorporated or Principal Place oO4 4
of Business In This State

OJ 2. US. Government 44 Diversity Citizen of Another State O2 1 2 Incorporated and Principal Place O5 5

Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a 03 O 3 Foreign Nation Oe 6
Foreign Country

IV. NATURE OF SUIT (Place an “X” in One Box Only) Click here for: Nature of Suit Code Descriptions

CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES

(1110 Insurance PERSONAL INJURY PERSONAL INJURY [J 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine (310 Airplane 1 365 Personal Injury - of Property 21 USC 881 [J 423 Withdrawal 0 376 Qui Tam (31 USC
(J 130 Miller Act (1315 Airplane Product Product Liability LC 690 Other 28 USC 157 3729 (a))
140 Negotiable Instrument Liability 0 367 Health Care/ 1 400 State Reapportionment
[1150 Recovery of Overpayment 1320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS OD 410 Antitrust
& Enforcement of Judgment Slander Personal Injury C1 820 Copyrights 0 430 Banks and Banking
(1151 Medicare Act (1330 Federal Employers’ Product Liability OD 830 Patent 0 450 Commerce
(152 Recovery of Defaulted Liability 1 368 Asbestos Personal oO Bana Dig Aplivation 0 460 Deportation
Injury Product Liabilit 840 Trademark
Student Loans (340 Marine my y 880 Defend Trade Secrets Oo Comins Oveunizations and
(Excl. Veterans) 1345 Marine Product LABOR SOCIAL SECURITY oO #8 S Uae asl es 1692)
(1153 Recovery of Overpayment Liability PERSONAL PROPERTY [J] 710 Fair Labor Standards 1 861 HIA (1395ff) oO B85 Telep hone (cea)
of Veteran’s Benefits (1350 Motor Vehicle 1 370 Other Fraud Act 0 862 Black Lung (923) 0 490 Cable/Sat TV
(1 160 Stockholders’ Suits (1355 Motor Vehicle 0 371 Truth in Lending 0 720 Labor/Megmt. Relations O01 863 DIWC/DIWW (405(g)) [1 850 Securities/Commodities/
(1190 Other Contract Product Liability 1 380 Other Personal 0 740 Railway Labor Act 1 864 SSID Title XVI Exchange
(1195 Contract Product Liability (360 Other Personal Property Damage 0 751 Family and Medical 1 865 RSI (405(g)) 1 890 Other Statutory Actions
(196 Franchise Injury 1 385 Property Damage Leave Act 0 891 Agricultural Acts
(7 302 Personal Injury - Product Liability 0 790 Other Labor Litigation 0 893 Environmental Matters
Med. Malpractice 0 791 Empl. Ret. Inc. 1 895 Freedom of Information
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS Security Act FEDERAL TAX SUITS Act
(1 210 Land Condemnation (440 Other Civil Rights Habeas Corpus: 01 870 Taxes (USS. Plaintiff 1 896 Arbitration
1 220 Foreclosure (441 Voting 1 463 Alien Detainee or Defendant) 1 899 Administrative Procedure
C1 230 Rent Lease & Ejectment (1442 Employment Oo a0, Motions to Vacate Oo SThIRS— Third Party 26 USC aetR ew ort PPeal of
CO 240 Torts to Land Oo 443 Housing). Other oO Soo constitutionality of State
CI 245 Tort Product Liability (1445 Amer. w/Disabilities - [] 530 General IMMIGRATION
(1 290 All Other Real Property Employment LO 535 Death Penalty (0 402 Naturalization Application
(446 Amer. w/Disabilities- [] 540 Mandamus & Other [] 465 Other Immigration
Other 0 550 Civil Rights Actions
(1448 Education 1 555 Prison Condition
560 Civil Detainee —
0 Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only) Oo hi
igi , i Transferred from 6 Multidistrict
Oo! Pre ing ? Removed O 3 vt O 4 Reinstated O > another district Litigation oO’ App eal to Os Multidistrict Co Remanded from
Court below) Reopened (specify) Transfer District Judge Litigation Appellate Court
from Magistrate —_ Direct
Judgment File

 

VI. RELATED/
RE-FILED CASE(S)

(See instructions): a) Re-filed Case DYES ONO
JUDGE:

b) Related Cases OYES NO
DOCKET NUMBER:

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):

VIL. CAUSE OF ACTION 18 U.S.C. § 1836 - Plaintiff claims misappropriation Plaintiffs confidential information
LENGTH OF TRIAL via days estimated (for both sides to try entire case)

VIII. REQUESTED IN CHECK IF THIS IS A CLASS ACTION

 

 

COMPLAINT: Oo UNDER FRCP. 23 DEMAND $ 750,000 CHECK YES only if demanded in complaint:
JURY DEMAND: O Yes No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE SIGNATURE OF ATTORNEY OF RECORD
September 6, 2021
FOR OFFICE USE ONLY : RECEIPT # AMOUNT IFP JUDGE Lf MAG JUDGE
Is44 CAGE) HZAREVeRIBZLGeXXXX Document 1-10 Entered on FLSD Docket 09/06/2021 Page 2 of 2
INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the
use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil
complaint filed. The attorney filing a case should complete the form as follows:

I. (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official,
giving both name and title.

(b) County of Residence. For each civil case filed, except U-S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation
cases, the county of residence of the “defendant” is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.

Il. ‘Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in
one of the boxes. If there is more than one basis of jurisdiction, precedence 1s given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.

United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box | or 2 should be marked. Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4
is checked, the citizenship of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)

Ill. _ Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

IV. Nature of Suit. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of
suit code that is most applicable. Click here for: Nature of Suit Code Descriptions.

 

V. Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.

Refiled (3) Attach copy of Order for Dismissal of Previous case. Also complete VI.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.

Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
Remanded from Appellate Court. (8) Check this box if remanded from Appellate Court.
VI. _ Related/Refiled Cases. This section of the JS 44 is used to reference related pending cases or re-filed cases. Insert the docket numbers and the

corresponding judges name for such cases.

VII. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553
Brief Description: Unauthorized reception of cable service

VIII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.

Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Date and Attorney Signature. Date and sign the civil cover sheet.
